CaSe 1217-CV-12405-TLL-PT|\/| ECF NO. 19-3 filed 10/31/17 Page|D.352 Page 1 Of 1

STATE OF MlCHlGAN
ClTY OF SAG|NAW

R|TA R. JOHNSON, doing
business as RlTA’S SOUTHERN
SOUL CAFE

Appellant,

VS.

ClTY OF SAGlNAW,
a l\/lichigan lVlunicipa|

 

 

Corporation,
Appe|lee.

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DEC|S|ON OF APPEAL PANEL

This matter having come before the Appeal Pane| on l\/londay, October 16, 2017,
and the Appeal Panel having reviewed the factual record made in the prior hearing,
entertained oral argument, and being otherwise fully advised;

This Appeal Panel has determined, by a unanimous vote, that the City l\/lanager’s
l\/lay 8, 2017, Notice of immediate Suspension of Business Activity is affirmed.

The decision of this Appeal Panel is final and conclusive. Any party aggrieved by
this decision may appeal same to a court of competent jurisdiction

ClTY OF SAG|NAW APPEAL PANEL

Dated: OC/+O\A‘L¥ fla ,2017 By: ;;am&i>ga/W \
J/YN\ET SANTOS, Ci’[y C|el'k
440/wu dew

By:
/Klfl/\%/\éleFé/LY soN, oireclor RiN JEF@ol\/\E, Deputy chief
O ater & stewater inspector
Treatment Services

 

 
  

 

 
   

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